Case 2:12-md-02323-AB Document 7313-5 Filed 03/21/17 Page 1 of 10

EXHIBIT 4
Case 2:12-md-02323-AB Document 7313-5 Filed 03/21/17 Page 2 of 10
United States District Court Eastern District of Pennsylvania Page 1 of 1

Other Documents

2:12-cv-04185-AB HOLT et al v.
NATIONAL FOOTBALL LEAGUE
et al

MDL-2323

United States District Court
Eastern District of Pennsylvania
Notice of Electronic Filing

The following transaction was entered by RUDD, J. on 8/10/2012 at 12:38 PM EDT and filed on
8/10/2012

Case Name: HOLT et al v. NATIONAL FOOTBALL LEAGUE et al
Case Number: 2:12-cv-04185-AB
Filer: LORRAINE DIXON

RICKEY DIXON

Document Number: 62

Docket Text:
Short Form Complaint - Rickey Dixon and Lorraine Dixon, his wife by LORRAINE DIXON,
RICKEY DIXON. (RUDD, J.)

2:12-cv-04185-AB Notice has been electronically mailed to:

J. GORDON RUDD Gordon.Rudd@zimmreed.com, Tina.Olson@zimmreed.com
2:12-cv-04185-AB Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1001600548 [Date=8/10/2012] [FileNumber=10911582-
0] [438375464bbcefac4d93c05c09b432d1 1463550ea9e45e940925b62d6243d4elec
Occb93d46fe0bbe9682bac983 1 d9fa3b6e3864759f0919 1 Sc80F4dee8a282E]]

+* oN 42- .19TN12ONKLO1QEWNITAS 8/10/2012
Case 2:12-md-02323-AB Document 7313-5 Filed 03/21/17 Page 3 of 10

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Other Documents

2:12-md-02323-AB MDL-2323 IN
RE: NATIONAL FOOTBALL
LEAGUE PLAYERS'
CONCUSSION INJURY
LITIGATION

MDL-2323

United States District Court
Eastern District of Pennsylvania

Notice of Electronic Filing

The following transaction was entered by RUDD, J. on 8/14/2012 at 11:23 AM EDT and filed on
8/14/2012
Case Name: MDL-2323 IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS'

‘ CONCUSSION INJURY LITIGATION

Case Number:  2:12-md-02323-AB

Filer: PLAINTIFF(S)
Document

Number: 3159

Docket Text:

Short Form Complaint - Rickey Dixon and Lorraine Dixon, his wife by PLAINTIFF(S).
(RUDD, J.)

2:12-md-02323-AB Notice has been electronically mailed to:

A. ELIZABETH BALAKHANI _ elizabeth.balakhani@dechert.com

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Case 2:12-md-02323-AB Document 7313-5 Filed 03/21/17 Page 4 of 10

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION

THIS DOCUMENT RELATES TO:

Plaintiffs’ Master Administrative Long-

No. 12-md-2323 (AB)

MDL No. 2323

SHORT FORM COMPLAINT

IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION

Form Complaint and (if applicable) INJURY LITIGATION
Robert Holt, et al.
vy. National Football League [et al.],
No. 2:12-CV-4185-AB
JURY TRIAL DEMANDED
SHORT FORM COMPLAINT

0

1. Plaintiff(s), Rickey Dixon

, (and, if applicable,

Plaintiff's Spouse) Lorraine Dixon

, bring(s) this civil action as a related action in

the matter entitled IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’ CONCUSSION

INJURY LITIGATION, MDL No. 2323.

2. Plaintiff (and, if applicable, Plaintiff's Spouse) is/are filing this short form

complaint as required by this Court’s Case Management Order No. 2, filed April 26, 2012.

3. Plaintiff (and, if applicable Plaintiff's Spouse), incorporate(s) by reference the

allegations (as designated below) of the Master Administrative Long-Form Complaint, as may

be amended, as if fully set forth at length in this Short Form Complaint.
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4. [Fill in if applicable] Plaintiff is filing this case in a representative capacity as the
of Rickey-Dixon , having been duly appointed as the
by the Court of . (Eress-out

5. Plaintiff, Rickey Dixon , is a resident and citizen of

Red Oak, TX and claims damages as set forth below.

6. [Fill in if applicable] Plaintiffs spouse, Lorraine Dixon _, is aresident and

citizen of Red Oak, TX , and claims damages as a result of loss of consortium

proximately caused by the harm suffered by her Plaintiff husband/decedent.

7. On information and belief, the Plaintiff (or decedent) sustained repetitive,
traumatic sub-concussive and/or concussive head impacts during NFL games and/or practices.
On information and belief, Plaintiff suffers (or decedent suffered) from symptoms of brain injury
caused by the repetitive, traumatic sub-concussive and/or concussive head impacts the Plaintiff
(or decedent) sustained during NFL games and/or practices. On information and belief,
the Plaintiff's (or decedent's) symptoms arise from injuries that are latent and have developed

and continue to develop over time.

8. [Fill in if applicable] The original complaint by Plaintiff(s) in this matter was filed

in Eastern District of Pennsylvania . If the case is remanded, it should be remanded to

Eastern District of Pennsylvania

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9. Plaintiff claims damages as a result of [check all that apply]:
Injury to Herself/Himself

Injury to the Person Represented

Wrongful Death

Survivorship Action

Economic Loss

Loss of Services

HORoOoOoO8

Loss of Consortium

10. [Fill in if applicable] As a result of the injuries to her husband,

Rickey Dixon , Plaintiff’s Spouse, Lorraine Dixon , suffers from a

loss of consortium, including the following injuries:

[V loss of marital services;
[V Jloss of companionship, affection or society;

[V Joss of support; and

[V |monetary losses in the form of unreimbursed costs she has had to expend for the

health care and personal care of her husband.

11. [Check if applicable] |Plaintiff (and Plaintiff's Spouse, if applicable)

reserve(s) the right to object to federal jurisdiction.
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DEFENDANTS

12. Plaintiff (and Plaintiff's Spouse, if applicable) bring(s) this case against the

following Defendants in this action [check all that apply]:

National Football League

NFL Properties, LLC

Riddell, Inc.

All American Sports, Inc. (d/b/a Riddell Sports Group, Inc.)
Riddell Sports Group, Inc.

Easton-Bell Sports, Inc.

Easton-Bell Sports, LLC

EB Sports Corporation

RBG Holdings Corporation

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13. | [Check where applicable] As to each of the Riddell Defendants referenced above,

the claims asserted are:| _|design defect;| _ | informational defect;| _}manufacturing defect.

14. [Check if applicable] [| The Plaintiff (or decedent) wore one or more helmets
designed and/or manufactured by the Riddell Defendants during one or more years Plaintiff (or

decedent) played in the NFL and/or AFL.

15. Plaintiff played in [check if applicable]| ¥_|the National Football League

(“NFL”) and/or in [check if applicable] [ _|the American Football League (“AFL”) during

-4-
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1988 to 1993 for the following teams:

Cincinnati Bengals and Los Angeles Raiders

CAUSES OF ACTION

16. Plaintiff herein adopts by reference the following Counts of the Master
Administrative Long-Form Complaint, along with the factual allegations incorporated by

reference in those Counts [check all that apply]:

Count I (Action for Declaratory Relief — Liability (Against the NFL))
Count II (Medical Monitoring (Against the NFL))

Count I (Wrongful Death and Survival Actions (Against the NFL))
Count IV (Fraudulent Concealment (Against the NFL))

Count V (Fraud (Against the NFL))

Count VI (Negligent Misrepresentation (Against the NFL))

Count VII (Negligence Pre-1968 (Against the NEL))

Count VIII (Negligence Post-1968 (Against the NFL))

Count IX (Negligence 1987-1993 (Against the NFL))

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Count X (Negligence Post-1994 (Against the NFL))

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Count XI (Loss of Consortium (Against the NFL and-Riddell Defendants)
Count XII (Negligent Hiring (Against the NFL))

Count XIIE (Negligent Retention (Against the NFL))

OANSSA

Count XIV (Strict Liability for Design Defect (Against the Riddell

Defendants))

LJ

Count XV (Strict Liability for Manufacturing Defect (Against the Riddell

Defendants))

Count XVI (Failure to Warn (Against the Riddell Defendants))

Count XVII (Negligence (Against the Riddell Defendants))

Nou

Count XVIII (Civil Conspiracy/Fraudulent Concealment (Against AH NFL

Defendants))

17. Plaintiff asserts the following additional causes of action [write in or attach]:

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff (and Plaintiff's Spouse, if applicable) pray(s) for judgment as

follows:
A. An award of compensatory damages, the amount of which will be determined at trial;
B. For punitive and exemplary damages as applicable;
C. For all applicable statutory damages of the state whose laws will govern this action;

D. For medical monitoring, whether denominated as damages or in the form of equitable

relief;
E. For an award of attorneys’ fees and costs;
F. An award of prejudgment interest and costs of suit; and
G. An award of such other and further relief as the Court deems just and proper.

JURY DEMANDED

Pursuant to Federal Rule of Civil Procedure 38, Plaintiff(s) hereby demand(s) a trial by
jury.

RESPECTFULLY SUBMITTED:

s/J. Gordon Rudd, Jr.
[signature block]

Attorneys for Plaintiff(s)
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J. Gordon Rudd, Jr.
Brian C. Gudmundson
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